Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23   Page 1 of 13 PageID 10782


                              EXHIBIT 75




                                                                  Appx. 02201
      Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                                                   Page 2 of 13 PageID 10783
                                                                                                                                          Claim #186 Date Filed: 5/26/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                                 04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  Hunter Covitz
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               Hunter Covitz                                                                   Hunter Covitz
   creditor be sent?                                                                                             6612 Sondra Drive
                                 c/o David Neier, Winston Strawn LLP
                                 Name                                                                             Name
                                 200  Park Avenue                                                                Dallas, TX 75214
    Federal Rule of              New York, NY 10166
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                  State                  ZIP Code

                                 Contact phone       21229467005391                                              Contact phone

                                 Contact email       dneier@winston.com                                          Contact email       HCov2020@yahoo.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                           Filed on
                                                                                                                                                         MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                             page 1

                                                                                                                                                               Appx. 02202
     Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                                   Page 3 of 13 PageID 10784
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ not less than 250,000.00                   . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Employment - see attached


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 02203
      Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                                                   Page 4 of 13 PageID 10785
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                 ✔       I am the creditor.
FRBP 9011(b).
                                          I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             05/26/2020
3571.                                                               MM / DD / YYYY




                                   /s/Hunter Covitz
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Hunter Covitz
                                                             First name                             Middle name                            Last name

                                  Title

                                  Company
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4%:         State

                                                                                                                                   Email
                                                                                                                   1934054200526000000000011
                                                                                                                                                     ZIP Code




                                                                                                                 +§«
 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 02204
  Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                    Page 5 of 13 PageID 10786
                                          KCC ePOC Electronic Claim Filing Summary
                                    For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                       Has Supporting Documentation:
               Hunter Covitz                                                 Yes, supporting documentation successfully uploaded
                c/o David Neier, Winston Strawn LLP                    Related Document Statement:
                200 Park Avenue
                                                                       Has Related Claim:
                New York, NY, 10166                                           No
                                                                       Related Claim Filed By:
                Phone:
                21229467005391                                         Filing Party:
                Phone 2:
                                                                              Creditor
                Fax:
                212-294-4700
                Email:
                dneier@winston.com
       Disbursement/Notice Parties:
              Hunter Covitz
                6612 Sondra Drive

                Dallas, TX, 75214
                Phone:
                Phone 2:
                Fax:
                E-mail:
                HCov2020@yahoo.com
                DISBURSEMENT ADDRESS
       Other Names Used with Debtor:                                   Amends Claim:
                                                                              No
                                                                       Acquired Claim:
                                                                              No
       Basis of Claim:                                                 Last 4 Digits:        Uniform Claim Identifier:
              Employment - see attached                                        No
       Total Amount of Claim:                                          Includes Interest or Charges:
              not less than 250,000.00                                         No
       Has Priority Claim:                                             Priority Under:
              No
       Has Secured Claim:                                              Nature of Secured Amount:
             No                                                        Value of Property:
       Amount of 503(b)(9):                                            Annual Interest Rate:
             No
       Based on Lease:                                                 Arrearage Amount:
                No                                                     Basis for Perfection:
       Subject to Right of Setoff:                                     Amount Unsecured:
              No
       Submitted By:
              Hunter Covitz on 26-May-2020 3:14:11 p.m. Eastern Time
       Title:
       Company:




VN: D7283EB4FCC29AF1DC458E68B98EC4DC
                                                                                                               Appx. 02205
             Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                                          Page 6 of 13 PageID 10787
  Fill in this information to identify the case:

  Debtor 1              Highland Capital Management, L.P.
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Northern District of of
                                                      District    __________
                                                               Texas

  Case number            19-34054-SGJ-11
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                      

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Hunter  Covitz
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      David Neier, Winston & Strawn LLP
                                      _____________________________________________________                       Hunter Covitz
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     200 Park Avenue, 40th Floor
                                      ______________________________________________________                      6612 Sondra Drive
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      New York                   NY           10166
                                      ______________________________________________________                       Dallas                    TX           75214
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   212-294-5318
                                                       ________________________                                   Contact phone   (214) 306-5710
                                                                                                                                   ________________________

                                      Contact email   dneier@winston.com
                                                       ________________________                                   Contact email   hcov2020@yahoo.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                 Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                              page 1
                                                                                                                                               Appx. 02206
           Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                            Page 7 of 13 PageID 10788
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                            250,000.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             ✔ No
                                                                             
      127/(667+$17+($%29($028176(($77$&+('
                                                                              Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Employment (see attached)
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                           ([FHSWIRUVHWRIIUHLPEXUVHPHQW6HHDWWDFKHG
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:              6(($77$&+('
                                                                          _____________________________________________________________



                                           Basis for perfection:
                                                                             6(($77$&+('
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                                                                                                                                  Appx. 02207
           Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                                       Page 8 of 13 PageID 10789
12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✔
                                         I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   05/26/2020
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Hunter Covitz
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                6612 Sondra Drive
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Dallas                                          TX           75214
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          (214) 306-5710
                                                         _____________________________                              Email   hcov2020@yahoo.com
                                                                                                                                ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
                                                                                                                                              Appx. 02208
Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                                 Page 9 of 13 PageID 10790



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                   §
                                                             § Chapter 11
    HIGHLAND CAPITAL MANAGEMENT,                             §
    L.P.,1                                                   § Case No. 19-34054-SGJ-11
                                                             §
              Debtor.                                        §

                                ATTACHMENT TO PROOF OF CLAIM

             1.    Hunter Covitz (“Claimant”) submits this attachment to his proof of claim (the

“Claim”) against Debtor Highland Capital Management, L.P. (“Highland” or the “Debtor”) in the

above-captioned Chapter 11 case (the “Case”).

             2.    On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Delaware, commencing the Case, which was subsequently

transferred to the United States Bankruptcy Court for the Northern District of Texas (the

“Bankruptcy Court”). On April 3, 2020, the Bankruptcy Court entered an order establishing May

26, 2020 at 5:00 p.m. (prevailing Central Time) as the deadline for the Debtor’s employees to file

claims against the Debtor that arose before the Petition Date. See ECF No. 560.

Compensation.

             3.    Claimant is an employee of the Debtor. Claimant is owed compensation for his

services, including, without limitation, (i) all salaries and wages; benefits; (ii) bonuses (including

performance bonuses, retention bonuses, and similar awards), (iii) vacation and paid time off, and

(iv) retirement contributions, pensions and deferred compensation. The amount of the Claim for



1
  The Debtor’s last four digits of its taxpayer identification code are (6725). The headquarters and service address for
the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


                                                          -1-
                                                                                                        Appx. 02209
Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                     Page 10 of 13 PageID 10791



such compensation includes both liquidated and unliquidated amounts. Furthermore, such claims

may be in the form of stock, including stock of entities other than the Debtor, or the cash equivalent

thereof to be paid or caused to be paid by the Debtor to Claimant, including dividends that continue

to accrue on such stock.       Documents supporting this Claim contain personal confidential

information of Claimant and, as more fully set forth below, shall be provided by counsel to

Claimant under separate cover to counsel for the Debtor upon written request therefor.

       4.      In addition to the foregoing, Claimant is entitled to reimbursement for travel and

other business related expenses incurred in connection with performing any services to which the

Claimant is entitled. Claimant has previously provided or will provide to the Debtor details with

respect to the amount of reimbursement that is owed.

Indemnification.

       5.      Claimant is an employee of the Debtor. Claimant is entitled to indemnification,

including, without limitation, for all acts performed or omitted to be performed on behalf of or in

connection with the Debtor’s business. As part of the Claim for indemnification, Claimant is

entitled to, among other things, contribution, reimbursement, advancement, or other payments,

including for damages, costs, and expenses, related thereto. The Claim for indemnification

includes both liquidated and unliquidated amounts, including, without limitation, attorneys’ fees

and expenses that continue to accrue. Among other things, the Claim for indemnification includes,

but is not limited to, indemnification for all claims, liabilities, damages, losses, fees, expenses, and

costs related to the following matters (the “Indemnified Matters”): Acis Capital Management, L.P.,

Acis Capital Management, GP, LLC, Reorganized Debtors v. James Dondero, Frank Waterhouse,

Scott Ellington, Hunter Covitz, Isaac Leventon, Jean Paul Sevilla, Thomas Surgent, Grant Scott,




                                                  -2-
                                                                                          Appx. 02210
Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                   Page 11 of 13 PageID 10792



Heather Bestwick, William Scott, and CLO Holdco, Ltd., Case No. 20-03060, pending in the

Bankruptcy Court;

       6.       The Claim Amount in Part 2, Question 7 of Form 410 attached hereto does not

include any amount of alleged damages claimed in the Indemnified Matters. Claimant reserves

the right to amend, supplement, or modify the Claim to include alleged damages amounts.

       7.       In addition to the foregoing, Claimant is entitled to the benefits of the Debtor’s

directors’ and officers’ insurance programs and any other insurance policies that provide coverage

for Claimant.

       8.       The Claim for indemnification is based on applicable law, the Debtor’s

organizational documents, contracts, agreements, arrangements, and corporate employee policies,

including, without limitation, that certain Fourth Amended and Restated Agreement of Limited

Partnership of Highland Capital Management, L.P. dated as of December 14, 2015 (“LPA”) and

to the Resolution of the Board of Directors of Strand Advisor, Inc. as General Partner of the Debtor,

dated May 12, 2020 (“Resolution”). Pursuant to LPA §4.1(h) and the Resolution, Claimant is

entitled to indemnification from the Debtor for all acts performed or omitted to be performed on

behalf of or in connection with the Debtor’s business.

       9.       Documents supporting this Claim (i) are in the possession of the Debtor; (ii) are too

voluminous attach hereto; and (iii) contain personal confidential information of the Claimant. The

supporting documentation is available (subject to entry of appropriate confidentiality agreements

and redaction of personal identification information to the extent necessary) upon written request

to counsel for Claimant as set forth below.




                                                 -3-
                                                                                        Appx. 02211
Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                    Page 12 of 13 PageID 10793



       10.     Claimant reserves the right to amend, supplement or modify the Claim at any time.

The Claim include amounts that continue to accrue, including interest as permitted by contract or

law.

       11.     Claimant reserves its rights to pursue claims (including but not limited to the claims

described herein) against the Debtor based upon additional or alternative legal theories and

reserves the right to file additional or other pleadings to assert any of the amounts set forth in this

Claim or any amendments thereto, including, without limitation, any postpetition administrative

expenses pursuant to the Bankruptcy Code, including sections 503 and 507 thereof, or other

applicable non-bankruptcy law.

       12.     This Claim is filed to preserve any and all claims, rights, and entitlements, including

contingent claims, that the Claimant may have against the Debtor, and nothing herein should be

construed as an admission that any valid claims or causes of action exist against Claimant.

       13.     To the extent that the Debtor asserts claims against Claimant, Claimant reserves the

right to assert that such claims are subject to rights of setoff and/or recoupment, whether or not

arising under the transactions set forth in this Claim, which rights are treated as secured claims

under the Bankruptcy Code, and state and federal laws of similar import as well as in equity.

       14.     Claimant does not waive any of its rights to claim specific assets or any other rights

or rights of action that Claimant has or may have against the Debtor, and Claimant expressly

reserves such rights. Claimant reserves all rights accruing to it against the Debtor, and the filing

of this Claim is not intended to be, and shall not be construed as, an election of remedy or a waiver

or limitation of any rights of any Claimant.

       15.     The filing of this Claim is not and shall not be deemed or construed as: (i) a waiver,

release or limitation of Claimant’s rights against any person, entity, or property; (ii) a waiver,




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                                                                                          Appx. 02212
Case 3:21-cv-00881-X Document 138-75 Filed 07/14/23                 Page 13 of 13 PageID 10794



release or limitation of Claimant’s right to have any and all final orders in any and all non-core

matters or proceedings entered only after de novo review by a United States District Court; (iii) a

waiver of Claimant’s right to move to withdraw the reference with respect to the subject matter of

this Claim, any objection thereto and/or other proceeding which may be commenced in this case

against or otherwise involving Claimant; or (iv) a consent by Claimant to the final determination

or adjudication of any claim or right pursuant to 28 U.S.C. § 157(c).

       16.     All matters concerning this Claim, including any request for supporting

documentation or additional information regarding this Claim should be made in writing directed

to the following counsel for Claimant:

                                      WINSTON & STRAWN LLP
                                      David Neier
                                      dneier@winston.com
                                      200 Park Avenue, 40th Floor
                                      New York, NY 10166-4193
                                      Telephone: (212) 294-6700
                                      Facsimile: (212) 294-4700




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